Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 1 of 23 PageID #: 395




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


BRIAN HUDDLESTON,

          Plaintiff,

vs.
                                                  Case No. 4:20-cv-447-ALM
FEDERAL BUREAU OF
INVESTIGATION and UNITED
STATES DEPARTMENT OF
JUSTICE

         Defendant



                         MOTION FOR IN CAMERA REVIEW

       NOW COMES Brian Huddleston, the Plaintiff, moving the Court to review

documents produced by the Federal Bureau of Investigation (“FBI”) and the U.S.

Department of Justice (“Justice Department”) in camera:

                                       Introduction

       On April 23, 2021, the FBI produced 68 heavily-redacted pages in response to the

Plaintiff’s Freedom of Information Act (“FOIA”) request. A true and correct copy of that

production is attached as Exhibit 1. The Court will note that another 507 pages plus a

computer disk were withheld in their entirety. Id. at PDF p. 7. In the Plaintiff’s Response

in Opposition to the Motion to Stay (Doc. No. 11), the Plaintiff noted that the FBI

previously made false representations to the U.S. District Court for the Eastern District of




                                            -1-
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 2 of 23 PageID #: 396




New York as well as this Court, claiming that it could not locate any records about Seth

Rich. The FBI recently admitted to this Court that it has thousands of responsive pages

and, as set forth below, the FBI has now admitted that it was already in possession of at

least some of those documents at the very time that it claimed it was unable to locate any

responsive documents.

       The Plaintiff respectfully requests that the Court take judicial notice of Plaintiff’s

Response in Opposition to Motion to Stay (Doc. No. 11), as well as the supporting

exhibits, which he incorporates herein by reference. At this point, the FBI has an

established history of hiding records, especially records about Seth Rich. Id. Furthermore,

the FBI’s initial production in this case shows that it is still trying to hide information

from the public via excessive and improper redactions.

                                       Legal Standard

       As the Court is aware from the pleadings and perhaps from news reports, see, e.g.,

Zachary Stieber, “FBI Releases Documents on Probe Into Death of DNC Staffer Seth

Rich,” April 24, 2021 The Epoch Times, https://www.theepochtimes.com/fbi-releases-

documents-on-investigation-into-death-of-democrat-national-committee-worker-seth-

rich_3789686.html, a lingering public controversy centers around the unauthorized

transfer of Democratic National Committee emails to Wikileaks in 2016, specifically

whether the emails were hacked by Russian agents or leaked by a disgruntled DNC

employee, i.e., Seth Rich. The email dispute is part of the larger controversy about

whether President Donald Trump’s campaign improperly colluded with the Russian




                                             -2-
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 3 of 23 PageID #: 397




government during the 2016 campaign. Id. Last year, the U.S. District Court for the

District of Columbia ordered an in camera review of records related to “Russian

collusion,” specifically to determine whether the government was improperly redacting

information in response to FOIA requests. See Elec. Privacy Info. Ctr. v. United States

Dep't of Justice, 442 F. Supp. 3d 37, 47–48 (D.D.C. 2020). After reviewing the

documents in camera, the D.C. court concluded that some of the redactions were

improper, and it ordered the release of unredacted information to the FOIA plaintiffs. Id.

The Fifth Circuit has likewise noted the importance of in camera review of redacted /

withheld documents:

       This court has stated that, while the FOIA “leaves to the [district] court's discretion
       whether to order an examination of the contents of the agency records at issue, in
       camera,” in determining whether the claimed exemptions apply, “the legislative
       intent for exercise of this discretion is relatively clear.” Id. at 1144. This is because
       “in instances where it is determined that records do exist, the District Court must
       do something more to assure itself of the factual basis and bona fides of the
       agency's claim of exemption than rely solely upon an affidavit.” Id. at 1145.

Batton v. Evers, 598 F.3d 169, 175–76 (5th Cir. 2010). While agencies are entitled to a

“presumption of legitimacy” in responding to FOIA requests, that presumption does not

apply where, as here, there is evidence of bad faith in handling the FOIA request. Id. at

176, citing U.S. Dep't of State v. Ray, 502 U.S. 164, 179, 112 S.Ct. 541, 116 L.Ed.2d 526

(1991).




                                             -3-
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 4 of 23 PageID #: 398




                                            Argument

1. The FBI has a history of acting in bad faith

       In the myriad of controversies that have arisen from the 2016 Presidential election,

the FBI has demonstrated a strong tendency to hide information that might undermine the

partisan political objectives of the FBI or otherwise embarrass high-ranking officials or

the FBI itself. See, e.g., “Review of Four FISA Applications and Other Aspects of the

FBI’s Crossfire Hurricane Investigation,” December 2019, Oversight and Review

Division Report No. 20-012, Office of the Inspector General, U.S. Department of Justice,

https://www.justice.gov/storage/120919-examination.pdf. The FBI has concealed

information from FOIA requestors, as described below, and it has also perpetrated frauds

on multiple federal courts. Id. The Plaintiff requested information related to the

investigation of Hillary Clinton's secret email servers, for example, and in 2017 the FBI

refused to produce the information on the grounds that it was not a matter of public

concern. See August 18, 2017 Letter from David M. Hardy to Ty Clevenger,

http://lawflog.com/wpcontent/uploads/2017/08/2017.08.12-Letter-from-FBI.pdf.1 That

laughable assertion made national news, see, e.g., Stephan Dinan, “FBI says lack of

public interest in Hillary emails justifies withholding documents,” August 29, 2017 The

Washington Times, https://www.washingtontimes.com/news/2017/aug/29/fbi-lack-

public-interest-emails-justifies-withhold/, and the DOJ soon reversed the FBI and ordered

1
 As witnessed by his electronic signature below, Ty Clevenger declares under penalty of perjury
under the laws of the United States that the URL links to a true and correct copy of the letter that
he received from Mr. Hardy. Mr. Clevenger further declares that all exhibits are true and correct
copies of the documents that he represents them to be.


                                                -4-
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 5 of 23 PageID #: 399




production of the requested information. See October 2, 2017 Letter from Sean R. O'Neill

to Ty Clevenger, http://lawflog.com/wpcontent/uploads/2017/10/2017.10.02-EOUSA-

reversed-by-OIPredacted.pdf. As set forth below, the FBI's tendency to “hide the ball” is

equally evident in this case.

       After the FBI told the New York court that it was unable to locate any records

pertaining to Seth Rich, Plaintiff’s Counsel independently obtained evidence that those

statements were made in bad faith. As explained in the December 30, 2020 response in

opposition (Doc. No. 11), the FBI inadvertently produced emails referencing Seth Rich in

response to an unrelated FOIA request from Judicial Watch, Inc. See

https://www.judicialwatch.org/wpcontent/uploads/2020/01/JW-v-DOJ-Strzok-Page-Prod-

16-00154.pdf. Shortly thereafter, the former U.S. Attorney assigned to prosecute the Seth

Rich murder acknowledged in a podcast interview that the FBI had investigated matters

pertaining to Seth Rich. See “Conspiracyland, Episode 2: ‘The Russia connection,” July

9, 2019 Yahoo!News, https://podcasts.apple.com/us/podcast/episode-2-the-russia-

connection/id1471037693?i=1000444030785. Plaintiff’s Counsel later deposed that

former U.S. Attorney, Deborah Sines, on March 20, 2020 in Ed Butowsky v. David

Folkenflik, et al., Case No. 4:18-cv-00442-ALM (E.D.Tex.), and a true and correct copy

of the deposition transcript is attached as Exhibit 2. Ms. Sines reluctantly admitted under

oath that the FBI had investigated matters pertaining to Mr. Rich. Id. Faced with that

evidence, Plaintiff Brian Huddleston submitted a new FOIA request for FBI records

about Seth Rich, and this time he did not give the FBI the option of playing dumb.




                                            -5-
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 6 of 23 PageID #: 400




       With the benefit of the April 23, 2021 production (hereinafter “Production” or

“Exhibit 1”), it is now all the more evident that the FBI made material misrepresentations

to two federal courts in order to conceal (1) the fact that it had investigated matters

pertaining to Seth Rich, and (2) that it did possess records about Seth Rich at the time of

Ty Clevenger’s 2017 FOIA request. See October 3, 2018 Declaration of David M. Hardy

(Exhibit 3)(declaring that the FBI had conducted a “reasonable search” for records about

Seth Rich and had found none); see also December 30, 2020 Plaintiff’s Opposition in

Response to Motion to Stay (Doc. No. 11)(explaining how the same misrepresentations

were made to this Court). Of particular interest is a “302 Form” witness interview dated

September 29, 2016 begins on PDF page 69 (Bates-stamped p. 423) of the Production.

Various pages of the 302 Form appear to be missing, but PDF page 70 (Bates-stamped p.

424) clearly indicates that the female witness is being interviewed about the unauthorized

transfer of DNC emails to Wikileaks. Following extensive redactions, the following

sentence is found toward the bottom of the same page: “SETH RICH was murdered on

the morning of July 10, 2016 in Washington, DC.” PDF page 72 (Bates-stamped p. 428)

also appears to be part of the same interview, and it states, “DNC staffer Seth Conrad

Rich was murdered [REDACTED].” PDF page 72 appears to be an appendage to the 302

Form, but it is entirely redacted except for the following statement: "NOTE: My

colleague, DNS Staffer Seth Conrad Rich, was murdered that same Sunday at 4:20 a.m.

in Washington, D.C. I didn’t know him well – I just exchanged greetings in the hallway a

couple of times.” PDF pages 74-77 (Bates-stamped pp. 430-433) appear to be the same




                                             -6-
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 7 of 23 PageID #: 401




302 Form, but it appears that it was declassified on a different date from the first 302

Form. Compare p. 69 with p. 77. Regardless, the FBI clearly had investigated matters

pertaining to Seth Rich and generated records about Mr. Rich not later than September

29, 2016, i.e., well before Mr. Clevenger’s September 1, 2017 FOIA request, see Original

Complaint 2, ¶7, Ty Clevenger v. U.S. Department of Justice, et al., Case No. 18-cv-1568

(E.D.N.Y.)(uploaded to this case as Doc. No. 11-4), yet the government submitted

affidavits to this Court and the New York court claiming that no such records could be

found.2

       The sleight-of-hand in Mr. Hardy’s October 3, 2018 declaration evinces an intent

to deceive both the requestor and the Courts. In Paragraphs 22 and 23 of that declaration,

Mr. Hardy testified that his staff contacted the FBI’s Washington Field Office (“WFO”),

and WFO confirmed that it played no role in the investigation of “the murder of Seth

Conrad Rich.” The plaintiff in that case, however, did not limit his request to records

about “the murder of Seth Rich.” Consider Exhibit 5, which is a true and correct copy of

a motion that Mr. Clevenger filed in the New York case, and particularly the following
2
 In 2019, the FBI proferred Mr. Hardy’s false affidavit to this Court twice, first when opposing
subpoenas issued in Edward Butowsky v. David Folkenflik, et al, Case No. 4:18-cv-00442-ALM-
CMC (see Doc. No. 75-5 in that case; see also December 13, 2020 Order (Doc. No. 80) p.11,
citing Hardy affidavit) and again when opposing subpoenas issued in Edward Butowsky v.
Michael Gottlieb, et al., Case No. 4:19-cv-00180-ALM-KPJ (see Doc. No. 168-4 in that case).
Prior to submitting the false affidavit to this Court, however, the FBI had already been notified in
the Brooklyn case about Ms. Sines’s admission that the FBI had the laptop. See October 8, 2019
Plaintiff’s Motion to Accept Supplemental Evidence and Plaintiff’s Motion to Permit Discovery
in Case 1:18-cv-01568-LB (attached as Exhibit 4). In other words, the FBI knew not later than
October 8, 2019 that Mr. Hardy’s affidavit was inaccurate, yet the FBI still presented his
affidavit to this Court on October 28, 2019. As further evidence of the FBI’s penchant for
chicanery, consider the Supplemental Motion to Compel Federal Bureau of Investigation to
Comply with Subpoena Duces Tecum, Doc. No. 189 in Case 4:19-cv-00180-ALM-KPJ.



                                               -7-
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 8 of 23 PageID #: 402




excerpt:

      [The government’s] letter proves one thing very clearly: the FBI has been playing
      word games in an attempt to conceal responsive records. Consider the following
      excerpt:

            [T]he FBI met its burden of showing that its search was adequate and,
            therefore, is entitled to summary judgment. See Defs. Mem. at 17-22; Defs.
            Reply at 3-9. Specifically, the FBI searched its Central Records System
            (“CRS”) recordkeeping system but did not locate any main file (file about
            Rich) or reference file (file with a cross-reference to Rich).4 Defs. 56.1 ¶¶
            23-32; see also Declaration of David M. Hardy dated October 3, 2018 (Dkt.
            #16-1) (“Hardy Decl.”) ¶¶ 19-21. The searches of the CRS would have
            located any emails of investigative significance. Hardy Decl. ¶ 24. The CRS
            searches also would have identified any Computer Analysis and Response
            Team (“CART”) records. Defs. 56.1 ¶ 32; see Hardy Decl. n.6. In addition
            to the CRS searches, the FBI Washington, D.C. field office was contacted to
            ascertain whether it had any records; it did not. Defs. 56.1 ¶¶ 33, 36; see
            also Hardy Decl. ¶¶ 22-23; Second Declaration of David M. Hardy dated
            July 29, 2019 (Dkt. #37) (“Second Hardy Decl.”) ¶ 32 n.9.

      Mahoney Letter, p. 2 (emphasis added). The Plaintiff, however, did not limit his
      FOIA request to “main files,” “reference files,” or “emails of investigative
      significance.” Instead, his FOIA request reads as follows:

             I request the opportunity to view all records and correspondence pertaining
             to Seth Conrad Rich (DOB: January 3, 1989), who was murdered in the
             District of Columbia on or about July 10, 2016. This request includes, but is
             not limited to, any records or correspondence resulting from any
             investigation of his murder.

      See September 1, 2017 FOIA Request Letter (Doc. No. 16-1, internal exhibit “A”).
      The emails attached to Ms. Mahoney’s letter clearly are “correspondence
      pertaining to Seth Conrad Rich.” See August 10, 2016 Email String (Doc. No. 52-
      1, internal exhibit “B”). The name “Seth Rich” even appears in the email header.
      Id.

Motion for Evidentiary Hearing and In Camera Review, 2 (Doc. No. 53), Ty Clevenger v.

U.S. Department of Justice, et al., Case No. 1:18-cv-01568-LB (E.D.N.Y.) (emphasis in

original)(attached as Exhibit 5). Mr. Hardy was playing word games by limiting the



                                          -8-
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 9 of 23 PageID #: 403




search to records about the “murder of Seth Conrad Rich,” whereas the plaintiff had

requested “all records and correspondence” pertaining to Seth Rich, e.g., records about

whether he was involved in leaking DNC emails to Wikileaks. Incidentally, the emails

found on PDF pp. 16-17 of the April 23, 2021 Production originated in the Washington

Field Office, which is exactly where Mr. Clevenger asked the FBI to search, but the FBI

had refused. Consider the following excerpt from a document filed in 2019 in the New

York case:

             According to the October 3, 2018 DECLARATION OF DAVID M. HARDY
      (Doc. No. 16-1)(hereinafter “FIRST HARDY DECLARATION”), the FBI's index
      searches for information about Seth Rich were legally adequate, but the same
      declaration proves that they were not:

             FBI Special Agents (“SA”) and/or designated support personnel may index
             information in the CRS by individual (persons), organization
             (organizational entities, places, and things), and by event (e.g., a terrorist
             attack or bank robbery). Indexing information in the CRS is based on
             operational necessity, and the FBI only indexes that information considered
             relevant and necessary for future retrieval. Accordingly, the FBI does not
             index every individual name or other subject matter in the general indices.

      FIRST HARDY DECLARATION, 5-6, ¶14 (emphasis added). Elsewhere in that
      declaration, Mr. Hardy states that his staff contacted the Washington Field Office
      (“WFO”), and the WFO explained that it offered its services to the Metropolitan
      Police Department regarding the Seth Rich murder, but the MPD declined the
      offer of assistance. Id. at 9, ¶¶22-23. That would, of course, explain why Mr.
      Rich's name was not entered into the CRS system. On the other hand, such an
      exchange almost certainly created some sort of record, e.g., text messages or
      emails, even if it was just emails exchanged internally regarding the declined offer
      of assistance. Yet the FBI arbitrarily refused to search email records in the WFO,
      i.e., the one place where such records are most likely to be found. Id. at 10, ¶24.
      The Court should, therefore, order the FBI to conduct a search of records (emails,
      texts, etc.) in the Washington Field Office.

September 17, 2019 Plaintiff’s Response in Opposition to Defendant’s Motion for




                                           -9-
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 10 of 23 PageID #: 404




Summary Judgment and Plaintiff’s Motion to Enjoin Compliance or Permit Discovery

(Doc. No. 32) 2-3, Clevenger, Case 1:18-cv-01568-LB (E.D.N.Y.)(attached as Exhibit 6).

An excerpt from the subsequent paragraph reads as follows:

       Although the FBI was willing to contact the WFO to determine whether
       responsive records could be found there, it arbitrarily refused to contact its
       Computer Analysis and Response Team (“CART”) to determine whether CART
       held responsive records. The Plaintiff has attached the sworn declaration of one of
       his clients, Edward Butowsky, explaining why he believes responsive records may
       be found in CART, i.e., because a confidential source told Mr. Butowsky that he
       had seen the records extracted from Seth Rich's electronic devices by CART. See
       Declaration of Edward Butowsky (Exhibit A). If records were downloaded from
       Mr. Rich's electronic devices, the most logical place to find those records would
       be CART. Mr. Hardy concedes that some records are not indexed, and he
       implicitly conceded that it was reasonable to contact the Washington Field Office,
       thus it would only be reasonable to inquire about electronic records in the place
       where they are most likely to be found, i.e., CART.

Id. at 3. The FBI has belatedly conceded that it has possession of Seth Rich’s work

laptop, see Exhibit 1 p.67 (Bates-stamped p. 406), and the undersigned would be willing

to bet that CART was in possession of that laptop the whole time. 3 Thus it appears that

the FBI knowingly refused (again) to search the very place where responsive information

would likely be located.

       The Plaintiff respectfully requests that the Court read Exhibit 6 in its entirety. As

noted therein, the FBI has gone so far as to execute secret non-disclosure agreements in a

lawless attempt to hide documents from FOIA requestors and from Congress. Exhibit 6

also references Jett v. Fed. Bureau of Investigation, 139 F. Supp. 3d 352, 367–68 (D.D.C.
3
 In a recent interview, the undersigned said – only half-jokingly – that Seth Rich’s laptop had
probably been hidden on the same room as Hunter Biden’s laptop. See Andy Kroll, “An Ex-Fox
News Commentator Is Backing Away from the Seth Rich Conspiracy Theories,” October 20,
2020 Rolling Stone, https://www.rollingstone.com/politics/politics-news/ed-butowsky-fox-news-
seth-rich-npr-cnn-dismiss-lawsuits-1078508/.


                                            - 10 -
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 11 of 23 PageID #: 405




2015), and the Plaintiff urges the Court to read that case in its entirety because it too

illustrates the FBI’s history of “hiding the ball” from FOIA requestors. The Plaintiff

further requests that the Court take judicial notice of the June 2, 2021 Motion Regarding

Scheduling Order Proposed by Defendant Federal Bureau of Investigation (Doc. No. 31),

Transparency Project, Case No. 4:20-cv-00467-SDJ-CAN (E.D. Tex.), which likewise

illustrates the FBI’s long-standing and institutionalized attitude of bad faith in FOIA

matters.

       Paragraph 24 of the Hardy Declaration (Exhibit 3) is also noteworthy. At least

since the 1990s, emails have been routinely searched and produced as part of civil

litigation, and many courts have adopted rules governing the production of electronic

evidence. In Paragraph 24, however, Mr. Hardy admitted that the FBI had flatly refused

to search its emails systems for records about Seth Rich. If it had, the records on PDF pp.

16-17 of Exhibit 1 would have been found, and that raises an important question: how

can the FBI, in this day and age, justify a policy of refusing to search its email systems

for records responsive to FOIA requests? Although an agency is “not required to search

every record system, it must make a good faith effort to reasonably search systems that

are likely to contain records where the requested information is likely to be found.” Viola

v. United States Dep't of Justice, 306 F. Supp. 3d 321, 325 (D.D.C. 2018), on

reconsideration in part, 16-CV-1411 (TSC), 2019 WL 2437692 (D.D.C. June 11, 2019),

citing Oglesby v. U.S. Dep't of Army, 920 F.2d 57, 68 (D.C. Cir. 1990). The FBI’s

institutionalized refusal to search its email systems cannot possibly be squared with that




                                            - 11 -
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 12 of 23 PageID #: 406




standard, particularly where the FBI has already admitted that its vaunted index system

depends entirely on the arbitrary choice of individual FBI employees to include or

exclude a record from the index. See Hardy Declaration (Exhibit 3), 5-7, ¶14. 4 In any

other area of civil litigation, and particularly in discovery matters, no court would tolerate

such a self-serving standard for document searches. The Court should not tolerate it here.

2. The FBI’s redactions are excessive and improper

       In keeping with its practice of hiding information about Seth Rich, the FBI also

made improper and excessive redactions in the relatively few records that it did produce

on April 23, 2021. For example, on page 2 of the cover letter to the April 23, 2021

Production (found on the third page of Exhibit 1), FBI Section Chief Michael G. Seidel

wrote that the agency had withheld a computer disk “in its entirety pursuant to FOIA

Exemptions (b)(6), (b)(7)(C), (b)(7)(D) and (b)(7)(E).” The FBI did not explain how

many pages, emails, texts, etc. were on the disk or whether it came from Seth Rich’s

work computer, his personal laptop, his mobile phone, or somewhere else. That sort of

conclusory response is inadequate. “An agency must use a Vaughn index to explain

withheld information by “specify[ing] in detail which portions of the document are

disclosable and which are allegedly exempt.” Kowal v. United States Dep't of Justice, 490

F. Supp. 3d 53, 67 (D.D.C. 2020)(emphasis added), quoting Vaughn v. Rosen, 484 F.2d

820, 827 (D.C. Cir. 1973). Similarly, “an agency invoking Exemption 3 must

demonstrate its applicability ‘in a nonconclusory and detailed fashion,’ [Goland v. CIA,

4
  For the benefit of future FOIA requestors, the Plaintiff hopes this Court will make a finding that
the FBI’s policy is objectively unreasonable.


                                               - 12 -
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 13 of 23 PageID #: 407




607 F.2d 339, 351 (D.C. Cir. 1978)], and must provide “the kind of detailed, scrupulous

description [of the withheld documents] that enables a District Court judge to perform a

searching de novo review.” Shapiro v. United States Dep't of Justice, CV 13-555 (RDM),

2020 WL 7318014, at *16 (D.D.C. Dec. 11, 2020), quoting Church of Scientology of Ca.,

Inc. v. Turner, 662 F.2d 784, 786 (D.C. Cir. 1980).

       Meanwhile, the FBI produced what is clearly the 302 Form of an interview of Ms.

Sines, see Production pp. 66-68 (Bates-numbered pp. 405-407), yet it tried to hide her

identity and the identity of others. One need only compare the 302 Form with Ms. Sines’s

deposition testimony, see Transcript of Deposition of Deborah Sines (Exhibit 2) pp. 30-

31, where she acknowledges in some detail how she was interviewed by the FBI about

matters pertaining to Seth and Aaron Rich. The FBI nonetheless redacted the name of

Ms. Sines, the name of Seth Rich, and the name of Aaron Rich from the 302 Form. Those

redactions were improper. Given the fact that Ms. Sines voluntarily “outed” herself in the

podcast interview with journalist Michael Isikoff, the government cannot plausibly claim

that there is any privacy interest in redacting her name from the 302 Form. Likewise,

there is little privacy interest in redacting the name of Seth Rich, who is now deceased.

See Am. Civil Liberties Union v. U.S. Dep't of Justice, 750 F.3d 927, 936 (D.C. Cir.

2014)(death diminishes but does not extinguish privacy interest). Finally, there is no

privacy interest in redacting the name of Aaron Rich, who made himself a limited-

purpose public figure by granting media interviews, see, e.g., Michael Isikoff, “'It is

indescribable': How a harassment campaign overwhelmed Seth Rich's friends and




                                           - 13 -
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 14 of 23 PageID #: 408




family,” August 6, 2019 Yahoo!News, https://www.yahoo.com/now/it-is-indescribable-

how-a-harassment-campaign-overwhelmed-seth-richs-friends-and-family-

100000936.html, and by filing suit against individuals who suggested that he helped leak

the DNC emails. See Aaron Rich v. Edward Butowsky, et al., Case No. 1:18-cv-000681

(D.D.C.). Even Ms. Sines acknowledged in her deposition that Aaron Rich participated in

the murder investigation, see Transcript of Deposition of Deborah Sines p. 57, and that

deposition transcript is publicly available. See, e.g., https://www.scribd.com/document/

454800604/Testimony-by-former-Assistant-US-Attorney-Deborah-Sines-in-Ed-

Butowsky-vs-David-Fokenflik.

       Toward the end of the 302 Form, Ms. Sines apparently informed her FBI

interviewers that she was aware that the FBI already had possession of Seth Rich’s work

laptop (as opposed to his personal laptop, which she had already obtained). See Exhibit 1

p. 67 (Bates-numbered p. 406). She further asked the FBI for a mirror image of the work

laptop for purposes of aiding the murder investigation. Id. That necessarily infers that the

FBI had previously obtained Seth Rich’s work laptop for reasons unrelated to the murder

investigation, and the Form 302s on pp. 68-76 strongly infer that the FBI took custody of

the work laptop as part of its investigation into the DNC email leaks. This too undermines

the declaration testimony of David M. Hardy, who claimed that the FBI found no records

after a “reasonable search.” We now know that the FBI was interviewing witnesses about

Seth Rich not later than September of 2016, and it appears that it took custody of his

work computer around that time (if not sooner), yet in 2018 and 2019 the FBI was still




                                           - 14 -
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 15 of 23 PageID #: 409




pretending (1) it did not to have any responsive records and (2) it was not involved in any

investigation related to Mr. Rich.

       Pages 16-17 of the Production (Bates-numbered pp. 1-2) contain the email string

that the FBI had inadvertently disclosed in response to the unrelated FOIA request from

Judicial Watch, Inc. Seth’s name had already been disclosed publicly in those emails,

ergo there was no longer a reason to redact his name. Nonetheless, pages 16-17 still

contain unwarranted redactions. The identities of several email senders and recipients are

redacted on the basis of the following exemptions:

       (b)(6) – “personnel and medical files and similar files the disclosure of which
       would constitute a clearly unwarranted invasion of personal privacy.”

       (b)(7)(C) – “records or information compiled for law enforcement purposes, but
       only to the extent that the production of such law enforcement records or
       information… could reasonably be expected to constitute an unwarranted invasion
       of personal privacy.”

       (b)(7)(E) – “records or information compiled for law enforcement purposes, but
       only to the extent that the production of such law enforcement records or
       information… would disclose techniques and procedures for law enforcement
       investigations or prosecutions, or would disclose guidelines for law enforcement
       investigations or prosecutions if such disclosure could reasonably be expected to
       risk circumvention of the law.”

Id. Note that the emails on pp. 16-17 are sent by government personnel on government

email accounts concerning government business. How, then, could one violate the

“personal privacy” of the sender of the top email on page 16, where the unknown

government agent responds to an email about Seth Rich by saying, “I squashed this with

[REDACTED]”? The context seems to suggest that he or she “squashed” a story with a

journalist, and the Plaintiff contends that the public should know who “squashed” what



                                           - 15 -
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 16 of 23 PageID #: 410




with whom, and why. How, exactly, could exemptions (b)(6), (b)(7)(C), and (b)(7)(E)

apply to that information?

       The Plaintiff would further direct the Court’s attention to the last sentence on page

64 (Bates-numbered p. 403): “Given [REDACTED], it is conceivable that an individual

or group would want to pay for his death.” If that sentence is referring to Seth Rich, then

it obviously contradicts the official narrative of the U.S. Department of Justice and the

Metropolitan Police Department that Mr. Rich died in a “botched robbery.” See, e.g.,

David Folkenflik, “'Conspiracyland' Debunks Theories About Murder Of DNC Staffer

Seth Rich,” August 8, 2019 NPR, https://www.npr.org/2019/08/08/749392506/

conspiracyland-debunks-theories-about-murder-of-dnc-staffer-seth-rich (describing

“botched robbery” theory). Not surprisingly, several news outlets took note of the excerpt

about an “individual or group [who] would want to pay for his death.” See, e.g., Zachary

Stieber, “FBI Releases Documents on Probe Into Death of DNC Staffer Seth Rich,” April

24, 2021 The Epoch Times, https://www.theepochtimes.com/fbi-releases-documents-on-

investigation-into-death-of-democrat-national-committee-worker-seth-rich_3789686.html

and Erick Mack, “Lawyer: FBI's Seth Rich Docs Show Robbery Narrative 'Falling

Apart'”, April 25, 2021 NewsMax, https://www.newsmax.com/us/sethrich-investigation-

death-fbi/2021/04/25/id/1018922/. If the person referenced is Seth Rich and he is already

dead, then why did the FBI need to redact his name? Or was the sentence referring to

someone else and the FBI left it unredacted in order to create a diversion?

       Additional troubling redactions are found on PDF page 67 of the Production:




                                           - 16 -
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 17 of 23 PageID #: 411




“After the homicide, [REDACTED] took Rich’s personal laptop to his house in

[REDACTED]. [REDACTED] was not aware if [REDACTED] deleted or changed

anything on Rich’s laptop.” The Plaintiff strongly suspects that Aaron Rich took his

brother’s laptop to his house in Colorado, and Ms. Sines was not aware if Aaron deleted

or changed anything on the laptop. See, e.g., Transcript of Deborah Sines, pp. 55-56 (Ms.

Sines testifying that she did not know whether Aaron Rich had altered data). These are

matters of public concern because Aaron Rich publicly denied that he played any role in

transferring DNC emails, and he filed lawsuits on that basis. See Aaron Rich v. Edward

Butowsky, et al., Case No. 1:18-cv-000681 (D.D.C.). If Aaron Rich took evidence related

to his brother’s murder, and Ms. Sines cannot say whether he altered that evidence, then

exemptions (b)(6) and (b)(7)(C) should not apply because neither of them have a

legitimate privacy interest in concealing evidence tampering or official corruption.

Likewise, exemption (b)(7)(D) cannot not be used to protect Aaron Rich as a

“confidential source” because Ms. Sines has already publicly acknowledged Aaron’s role

in assisting her investigation. See Transcript of Deborah Sines, p. 56. If Aaron Rich

absconded with his brother’s laptop immediately after the murder and possibly tampered

with it, then the public has a right to know that.

       The Plaintiff would note that some of the redacted information has been classified,

see, e.g., Production PDF p. 28 (Bates-numbered p.76), but Section 1.7 of Executive

Order 13526 permits the Court to declassify information where classification has been

used to conceal government misconduct. See Smith v. United States Nat'l Archives &




                                            - 17 -
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 18 of 23 PageID #: 412




Records Admin., 415 F. Supp. 3d 85, 97–98 (D.D.C. 2019).

       In no case shall information be classified, continue to be maintained as classified,
       or fail to be declassified in order to:

              (1) conceal violations of law, inefficiency, or administrative error;
              (2) prevent embarrassment to a person, organization, or agency;
              (3) restrain competition; or
              (4) prevent or delay the release of information that does not require
              protection in the interest of the national security.

E.O. 13526 §1.7(a). The Plaintiff moves the Court to review the classified information in

camera to determine whether the FBI is using classification to conceal information in

violation of subsections (a)(1), (a)(2), or (a)(4). On PDF page 28 of the Production, for

example, the document makes reference to “Guccifer 2.0,” a person/entity widely blamed

as the source of the stolen DNC emails, see, e.g., Natasha Bertrand, “Suspected Russian

cyber spy Guccifer 2.0 altered a DNC document before releasing it,” November 3, 2017

Business Insider, https://www.businessinsider.com/guccifer-2-0-dnc-document-russia-

hillary-clinton-2017-11, but most of page 28 is classified. In a related case, namely The

Transparency Project v. U.S. Department of Justice, et al., Case No. 4:20-cv-467

(E.D.Tex.), both the CIA and the NSA have refused to say whether they were responsible

for fabricating and/or operating the Guccifer 2.0 persona or other “Russian” online

identities purportedly involved in the email transfers. Compare First Amended

Complaint, Transparency Project (Doc. No. 5) 5, ¶11(a) and 9-10, ¶15(a)(attached as

Exhibit 7) with March 16th 2021 Joint Status Report, Transparency Project (Doc. No. 22)

2-3 (attached as Exhibit 8) and Undated Letter from Ronald Mapp to Ty Clevenger

(attached as Exhibit 9). Both agencies issued Glomar responses, i.e., that they would



                                           - 18 -
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 19 of 23 PageID #: 413




neither confirm nor deny that they played a role in fabricating “Russian fingerprints” in

order to shift blame to Russia. Id. For that reason, the plaintiff in that case intends to ask

the Court to determine, pursuant to Executive Order 13526, whether the CIA and NSA

are using classification to save senior officials from embarrassment or to conceal illegal

activity, see, e.g., 18 U.S. Code §§ 1505, 1519, 2381, 2382, and 2383, namely by hiding

any evidence that the U.S. government fabricated the “Russian fingerprints.” In this case,

the Plaintiff wants to know if the FBI is using classification to conceal similarly illegal or

embarrassing activity. If, for example, FBI officials knew in 2016 or 2017 that Seth Rich

(rather than Russian agents) was responsible for leaking DNC emails, and if they hid that

information for 4-5 years while publicly blaming Russia, then the FBI cannot now use

classification in order to save itself from embarrassment. E.O. 13526 §1.7(a)(2).

Likewise, if the FBI has evidence that the U.S. government fabricated “Guccifer 2.0,”

then it cannot use classification to conceal that information. Id at §1.7(a)(1) and (2).

       It is worth noting that two of the individuals in the email string on PDF pp. 16-17

of the Production are the infamous Lisa Page and Peter Strzok, see, e.g., “Report of

Investigation: Recovery of Text Messages From Certain FBI Mobile Devices,” December

2018, Investigations Division Report No. 2018-003523, Office of the Inspector General,

U.S. Department of Justice, https://www.justice.gov/storage/120919-examination.pdf,

both of whom left the FBI in a cloud of scandal. See Laura Jarrett and Josh Campbell,

“FBI officials Lisa Page and James Baker resign,” May 5, 2018 CNN

https://www.cnn.com/2018/05/04/politics/fbi-officials-lisa-page-james-baker-




                                             - 19 -
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 20 of 23 PageID #: 414




resign/index.html, and Judson Berger and Brooke Singman, “FBI fires Peter Strzok,

months after anti-Trump texts revealed,” August 13, 2018 Fox News,

https://www.foxnews.com/politics/fbi-fires-peter-strzok-months-after-anti-trump-texts-

revealed. Page and Strzok both worked closely with former CIA Director John Brennan

on matters related to “Russian collusion,” see Catherine Herridge, “McCabe-Page texts

reveal high-level intel meeting after 2016 election,” March 26, 2019 Fox News,

https://www.foxnews.com/politics/mccabe-page-texts-reveal-high-level-intel-meeting-

after-2016-election, and the Plaintiff wishes to determine whether Page, Strzok, Brennan,

and other government officials knowingly covered up Seth Rich’s role in leaking DNC

emails so they could blame the scandal on hackers affiliated with the Russian

government. More to the point, the Plaintiff wants to know if the FBI is using

classification to cover up its role in fabricating the “Russian collusion” narrative. Lest

that seem like a stretch, the Plaintiff would refer the Court to what we already know, i.e.,

that the FBI has already made misrepresentations to two federal courts in order to conceal

what it knows about Seth Rich. And when the CIA and NSA were asked pointblank

whether they did something corrupt and nefarious, namely by fabricating Guccifer 2.0,

they issued Glomar responses rather than deny culpability.5

       If the CIA and/or NSA fabricated Guccifer 2.0 in order to deceive the public and

trigger a bad-faith criminal investigation of President Trump (for “colluding” with

5
  The Court will note that the email exchange on PDF pp. 16-17 occurs among FBI personnel in
the “WF” (Washington Field Office) and “CD” (Counterintelligence Division). That strongly
infers that the FBI was investigating (1) foreign involvement in the murder of Seth Rich, or (2)
foreign involvement between Seth Rich and others, e.g., Wikileaks.


                                             - 20 -
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 21 of 23 PageID #: 415




Russia), then that is exactly the sort of government misconduct that should be exempted

from classification under Executive Order 13526 §1.7. Likewise, if the FBI is using

classification to hide misconduct surrounding the Seth Rich investigation / fiasco, that

information should be exempted under E.O. 13526 §1.7.

       On May 7, 2021, the Department of Justice produced records in response to the

Plaintiff’s request for information about the Office of Special Counsel, and a copy of that

response is attached as Exhibit 10. Like the FBI, the Justice Department redacted a

significant portion of the responsive records. Id. The Justice Department, for example,

provided a transcript of the December 7, 2018 testimony of former FBI Director James

Comey before Congress, see Exhibit 10, Bates-stamped pp. 12480 – 12535, but it was

heavily redacted despite the fact that the entire transcript is publicly available on the

Internet. See, e.g., https://www.lawfareblog.com/document-transcript-james-comeys-dec-

7-interview-house-committees. Given the widespread governmental chicanery in all

matters pertaining to Seth Rich and “Russian collusion,” the Plaintiff moves the Court to

review the Justice Department documents in camera as well.

3. The Court should permit counsel to review unredacted copies of all documents.

       The Plaintiff moves the Court to grant his counsel permission to view unredacted

copies of all responsive, unclassified documents pursuant to an “attorneys’ eyes only”

protective order. See, e.g., Am. Farm Bureau Fed'n v. McCarthy, 13-CV-1751

ADM/TNL, 2015 WL 631341, at *1 (D. Minn. Feb. 6, 2015)(parties in FOIA litigation

agreed to produce some documents under “attorney’s eyes only” restriction). For




                                            - 21 -
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 22 of 23 PageID #: 416




classified documents, the Plaintiff moves the Court to grant him permission to add co-

counsel who holds the necessary security clearances to review such documents. Given the

complexity of the information requested, and the government’s long history of

obfuscation and bad faith, the Court would benefit from additional input by attorneys

who are intimately familiar with the facts and the players.

                                       Conclusion

         The Court should review unredacted copies of all responsive documents in

camera, and it should permit counsel to review those documents pursuant to a protective

order.

                                          Respectfully submitted,

                                          /s/ Ty Clevenger
                                          Ty Clevenger
                                          Texas Bar No. 24034380
                                          P.O. Box 20753
                                          Brooklyn, New York 11202-0753
                                          (979) 985-5289
                                          (979) 530-9523 (fax)
                                          tyclevenger@yahoo.com

                                          Counsel for Plaintiff Brian Huddleston



                                Certificate of Conference

       On June 13, 2021, I e-mailed a near-final draft of this motion to Asst. U.S.
Attorney Andrea Parker, Counsel for the Defendants, and I asked if her clients would
oppose the motion. On June 14, 2021, she indicated by email that they would. I also tried
to reach Ms. Parker by telephone on June 14, 2021, but I was not successful.

                                          /s/ Ty Clevenger
                                          Ty Clevenger



                                           - 22 -
Case 4:20-cv-00447-ALM Document 26 Filed 06/14/21 Page 23 of 23 PageID #: 417




                                 Certificate of Service

       On June 14, 2021, I filed a copy of this response with the Court’s ECF system,
which should result in automatic notification via email to Asst. U.S. Attorney Andrea
Parker, Counsel for the Defendants, at andrea.parker@usdoj.gov.

                                         /s/ Ty Clevenger
                                         Ty Clevenger




                                          - 23 -
